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                                   frl-/iCiirtiil
                                   '\''
                                       l\'l\JlltnL
                                                                              U.
                      IN THE L]NITEDSTATESD{STRICTCOURT

                                     DISTRICTOF GEORCIA
                     FOR.THESOI-JTHERN
                                                                             ?0r
                                   DUBLIN DIVISION                         NLER

MERCEDESD, JENKINS,

              Petitioner,

                                                        cv 3i 5-016
                                                        (FormerlyCR312-004)
UNITED STATESOF AMERICA,

              Respondent.


                                        ORD ER


       Afler a carefrrl,de noto reviewof the file, the Courtconcurswith thelv{agistrare
                                                                                     .ludge's

                       to rvhichrro objectionshavebeenfiled. Accordingly.the Coull
Reportand Recommendation,

                                of the lv{agistrate
ADOPTS the ReportandRecommendation                      as its opition, andtherefore
                                                  .Tridge

DENIES rviihoutanevidentiaryhearingPetitioner'smotionfiled pursuantto 28 tl.S.C. $ 2255.

       Fufiher,a fbderalprisonermust obtain a certificateof appealability('"COA") befiire

appealingthe denial of his motion to vacate. This Court "must issueor deny a cefiificateof

appealabilitywhen it entersa final order adverseto the applicant." ftule 11(a)to th€ Rules

                              This Courtshnuldgranta COA only ifthe prisonernrakes
GovemingSection2255Prcrceedings.

:r "substantialshowingof ihe denialof zrconstitutionalrighi." 28 U.S.C.$ 2253(c)(2).For the

                                                and in considerationof the standards
reasonsset forth in the Repo$ and Recomrnendation,

         in Slackv. lvfcDaniel,529 Lr.S.473,482-84(2000),Petitionerhastaiiedto makethe
enunciated
      Case 3:12-cr-00004-DHB-BKE Document 330 Filed 02/09/16 Page 2 of 2




requisiteshowing. Accordinglv,the Court DENIES a COA in this case.' h{oreover',
                                                                             because

thereare no non-frivolousissuesto raiseon appeal.an appealuouid not be takenin goodfhith.

Accordingly,Fetitioneris not enlitledto appealinfarmapauperis. See28 U.S.C.$ 1915(a)(3).

      Llponthe foregning,the Cout CLOSDStltis civil action arrdIIIRECTS the Clerk t<:

enteriinaljudgmentin firvoro.jlglFondent.

       S() ORDEREDthis@ruy uf f.bruary, 2016,at Augusta,
                                                       Georgia.




                                                   DISTRICT.TLIDGE




       r"If the cout deniesa certilicate,a party may not appealthe denial but may seeka
certificatefrom the courtof appealsunderFederalRuleof AppellateProcedute22." Rule l1(a)
to the Rules(ioverningSection2255Proceedings.
